Case 2:23-cv-00120-JRS-MG Document 6 Filed 03/16/23 Page 1 of 2 PageID #: 675




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

RAFAEL L. WALKER,                                  )
                                                   )
                             Plaintiff,            )
                                                   )
                        v.                         )       No. 2:21-cv-00421-JPH-MJD
                                                   )
FRANK VANIHEL, et al.,                             )
                                                   )
                             Defendants.           )


To:    Starla Perkinson, Litigation Assistant – Wabash Valley Correctional Facility

                        ORDER TO MAKE INMATE AVAILABLE

       You or your designee(s) are ORDERED to make Rafael Walker available to participate

in a telephonic discovery conference at the time and date specified in this Order by calling

877-873-8017, Access Code 7786882, Security Code 210421.

        Inmate:       Rafael Walker
                      166671
        Date:         Tuesday, April 25, 2023

        Time:         1:00 PM (Eastern)

        Expected Duration of Court Proceeding: 30 mins.

       Any questions or information concerning this Order should be brought to the attention of

Judge Dinsmore's Courtroom Deputy at Geeta_DeVellen@insd.uscourts.gov.

       SO ORDERED.



       Dated: 16 MAR 2023
Case 2:23-cv-00120-JRS-MG Document 6 Filed 03/16/23 Page 2 of 2 PageID #: 676




Distribution:

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RAFAEL L. WALKER
166671
WABASH VALLEY - CF
WABASH VALLEY CORRECTIONAL FACILITY - Inmate Mail/Parcels
Electronic Service Participant – Court Only

Starla Perkinson
Litigation Assistant
WABASH VALLEY CORRECTIONAL FACILITY
(Via Email)
